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                                                                          REISSUED FOR PUBLICATION

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                                                                              U.S. COURT OF FEDERAL CLAIMS
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                               OFFICE OF SPECIAL MASTERS
                                         Filed: May 2, 2018                                     FILED
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ALLYSON L. PARZIALE,
                                                                                             MAY -2 2018
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                                               *       No. l 7-503V                         U.S. COURT OF
                                                                                           FEDERAL CLAIMS
                       Petitioner,             *       Special Master Sanders
                                               *
V.                                             *       Dismissal; Show Cause Order;
                                               *       Failure to Prosecute
SECRETARY OF HEALTH                            *
AND HUMAN SERVICES,                            *
                                               *
                       Respondent.             *
*************************
Allyson L. Parziale, prose, Cumberland, RI.
Justine E. Walters, United States Department of Justice, Washington, DC, for Respondent.

                                            DECISION'

        On April 10, 2017, Allyson L. Parziale ("Petitioner") filed a pro se petit10n for
compensation pursuant to the National Vaccine Injury Compensation Program. 2 42 U.S.C.
§§ 300aa-1 to -34 (2012). Petitioner alleged that she suffered from Guillain-Barre Syndrome
("GBS") as a result of an influenza vaccination received on February 1, 2014. Petition at I.
Petitioner filed five exhibits with her petition. See ECF No. 1.

        The case was originally assigned to Special Master Moran. Not. of Assignment, filed Apr.
11 , 2017. Special Master Moran held a telephonic status conference on May 2, 2017. See Order,
filed May 2, 2017. At that conference, Petitioner was joined on the call by Mr. Leach, an attorney,
for purposes of guidance only. Id. Special Master Moran discussed potential procedural issues in


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          This decision shall be posted on the United States Court of Federal Claims ' website, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). In accordance with Vaccine
Rule l 8(b ), a party has 14 days to identify and move to delete medical or other information that
satisfies the criteria in § 300aa- 12(d)( 4)(B). Further, consistent with the rule requirement, a
motion for redaction must include a proposed redacted decision . If, upon review, the undersigned
agrees that the identified material fits within the requirements of that provision, such material will
be deleted from public access.

       2The Program comprises Part 2 of the National Chi ldhood Vaccine Injury Act of 1986,
Pub. L. No. 99-660, 100 Stat. 3758, codified as amended, 42 U. S.C. §§ 300aa-10 et seq. (2012)
("Vaccine Act" or "the Act"). Hereinafter, individual section references will be to 42 U.S.C.
§ 300aa of the Act.
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the case with the parties, and Respondent identified missing medical records. Id. Petitioner
indicated that she would obtain the records, and a deadline of July 3, 2017 was set for Petitioner
to file any outstanding records. Id.

        Two days after the deadline, on July 5, 2017, Petitioner filed seven additional exhibits and
a statement of completion. A status conference was scheduled for the next month. See Stat. Conf.
Order, filed July 10, 2017.

        During the telephonic status conference held on August 11 , 2017, Petitioner was again
joined on the call by Mr. Leach. See Order, filed Aug. 11, 2017. Special Master Moran encouraged
Mr. Leach, if he intended to represent Petitioner, to apply for admission to the U.S. Court of
Federal Claims and to then enter his appearance as the attorney of record. Id. Although the status
conference was held to discuss whether the medical record was complete, Respondent said that he
needed additional time to review the record. Id. Therefore, Respondent was given a deadline of
September 25, 2017 to file a status report on the completeness of the medical record. Id. Another
status conference was scheduled for October 12, 2017. Respondent filed a status report on
September 22, 2017 indicating that no critical records appeared to be missing from the record .
Resp't's Stat. Rept. , filed Sept. 22, 2017.

        During the telephonic status conference held on October 12, 2017, Petitioner was again
joined on the call by Mr. Leach. See Order, filed Oct. 13 , 2017. Special Master Moran again
encouraged Mr. Leach to apply for admission to the U.S. Court of Federal Claims bar and to enter
his notice of appearance. Id. Special Master Moran indicated that, if Mr. Leach chose not to obtain
admission and enter an appearance, Petitioner should continue her claim pro se or find appropriate
representation from a Vaccine Injury Program attorney. Id. Respondent was ordered to file a Rule
4(c) report. Id. A status conference was set for December 20, 2017. Id.

        Respondent filed his Rule 4(c) report on December 15, 2017. See Resp't's Rept., filed
Dec. 15, 2017. In his report, Respondent identified several issues with Petitioner's claim. Id.
First, Respondent noted that none of Petitioner's treating physicians causally associate her GBS
symptoms with her flu vaccination. Id. at 10. Instead, several doctors attributed the condition to
a viral illness that she suffered several weeks prior to the onset of her GBS symptoms. Id.
Additionally, Respondent identified that Petitioner had not submitted an expert report or other
reliable medical evidence to support her claim that the flu vaccine caused GBS twelve weeks post-
vaccination. Id. Therefore, Respondent argued that Petitioner is not entitled to compensation
under the Vaccine Act. Id. at 11.

        The case was reassigned to the undersigned on December 19, 2017. See Not. of
Reassignment, filed Dec. 19, 2017. The status conference scheduled by Special Master Moran
was cancelled and a status conference with the undersigned was scheduled for January 11, 2018.
See Stat. Conf. Order, filed Jan. 2, 2018.

        During the telephonic status conference held on January 11 , 2018, Petitioner said that
neither Mr. Leach nor anyone else was assisting her on the call. See Order, filed Jan. 12, 2018.

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Petitioner stated at the outset of the call that she had decided not to obtain an attorney to represent
her in this case. Id. The undersigned explained the importance of an attorney, especially if
Petitioner .Planned to obtain an expert witness to opine on her case. Id. The undersigned also
explained that petitioners who decide to proceed pro se are given the same timelines and
expectations as those proceeding with attorneys. Id. The undersigned discussed Respondent's
Rule 4(c) report and the issues raised therein . Id. When the undersigned tried to clarify Petitioner's
theory of the case, Petitioner said that she changed her mind and wanted an opportunity to find an
attorney to represent her. Id. The undersigned set a deadline of thirty days, or no later than
February 12, 2018, for an attorney to enter an appearance or for Petitioner to file a status report
regarding her efforts to obtain representation . Id.

         On February 13, 2018 , Petitioner filed a "Petition for Extension" dated February 2, 2018 .
In the filing, Petitioner requested an extension of 45 days . She stated that she would "be leaving
the country for 11 days and need[ ed] more time to collect statements from an expert witness." The
filing did not mention whether Petitioner was still seeking representation. Based on Petitioner's
filing, the undersigned scheduled a status conference for February 15, 2018. See Order, filed Feb.
14, 2018.

        At a telephonic status conference held on February 15, 2018, Petitioner stated that she had
returned from her trip out of the country. See Order, filed Feb. 16, 2018 . Petitioner explained that
she was working with an attorney and an expert but had not finalized any agreements. Id. She
also stated that she had spoken with two attorneys, but she had not provided them with her medical
records or other information about the case. Id. The undersigned told Petitioner that the case was
not at a stage where an expert opinion or report should be sought or submitted. Id. Instead, the
undersigned emphasized that Petitioner should focus on obtaining representation if that is how she
wishes to proceed. Id. The undersigned reminded Petitioner that she is not required to have an
attorney represent her, but that she will be expected to competently handle her case if she proceeds
prose. Id. Petitioner said that she could identify and retain an attorney with an extension of thirty
days, and the undersigned set a deadline of March 19, 2018 for an attorney to enter an appearance
or for Petitioner to file a status report indicating that she wanted to proceed prose. Id.

        No attorney has entered an appearance to date, and Petitioner has not filed a status report
or otherwise contacted Chambers to indicate that she wants to proceed with her case pro se.
Chambers emailed Petitioner on March 23, 2018 regarding the lapsed deadline. Chambers also
called Petitioner and left a voicemail on March 27, 2018 regarding the lapsed deadline.

        When Petitioner did not respond to Chambers' inquiries, the undersigned issued an Order
to Show Cause. Order, filed Mar. 28, 2018. In that order, the undersigned cautioned Petitioner
that "[f] ailure to file a status report by Friday, April 27, 2018 will be interpreted as a failure to
procedure this claim, and the petition shall be dismissed." Id.

       When a petitioner fails to comply with Court orders to prosecute her case, the Court may
dismiss her claim . Vaccine Rule 21(b)(l); Sapharas v. Sec'y of Health & Human Servs., 35 Fed.
Cl. 503 (1996); Tsekouras v. Sec'y of Health & Human Servs., 26 Cl. Ct. 439 (1992), ajj"d, 991

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F.2d 810 (Fed. Cir. 1993) (table) ; see also Claude E. Atkins Enters., Inc. v. United States, 899 F.2d
1180, 1183-85 (Fed. Cir. 1990) (affirming dismissal of case for failure to prosecute for counsel's
failure to submit pre-trial memorandum); Adkins v. United States, 816 F.2d 1580, 1583 (Fed. Cir.
1987) (affirming dismissal of case for failure of party to respond to discovery requests).

        Petitioner first indicated that she wanted to obtain counsel to represent her more than three
months ago, on January 11 , 2018. However, no attorney has filed a notice of appearance, and
Petitioner has not filed a status report indicating that she wishes to proceed prose. Petitioner never
contacted Chambers in response to the email or voicemail message from Chambers regarding her
March 19, 2018 lapsed deadline, and she did not respond to the Show Cause Order issued on
March 28, 2018. Petitioner' s failure to respond to Chambers' communications and comply with
the undersigned's Show Cause Order indicate a disinterest in pursuing her claim. Therefore, this
case must be dismissed for failure to prosecute. The Clerk shall enter judgment accordingly.


       IT IS SO ORDERED .

                                                       Herbrina D. Sanders
                                                       Special Master




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